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01-22-25

Case 4:23-cv-04155-YGR Document 461 Filed 02/11/25 PR boys E D

FEB 1.0 2025 *,
CLERK, U.S. DISTRICT COUR
NORTHERN DISTRICT OF CALIFORNIA

A osc No A 8232 —-cv-o04155-YGR. | oe

Hola mi. pombe. es Mara Croz #£25e2 _.

GS -CY, Soy ona _de_\as Que. cake en. _

Dololin_ Cin We ve 5a PACIOA. Sin _AMAIInar

Aue la Ceranan. yo fur Nichia cde rwwlento de.
O_Aenontia ern MoorzZe-03_

Moueo. Se: Ywal_-Po

1

eel. DOZH, Aur Cava \as Prveloas chek porte che

rp Rea\ Qoe_ Pree, No ha ardo Nada Facl lo

{.

Que & Niwido..Pui dlavadida.. Cuandko.._e_ Ra

o~

de Baros,_! 1 ovsadoa PW Ck Parkas uy Ve Or
Ba. Pisin conde Duy cesbiurnente. Und celia Sequt _

‘noes \naci, en 1

Oblin las Senncios Metitos _

Gan Leas. Solo ng decian oma agua.y eso he

dL

WN acnkic Mejor, Car_de las Joncas ux era—
Pacada aqoe 15 de dloril por. la reorane pe Ac.

uterus rne_cortsamon ola Unidad By el \O de

plant, po la. ndmdng One. Netaan. Las Nitgas coer
rn

Mank (eh Cor Moy Cansado el Araje. arn.

CocWlas an. gs \_Pagenwco_ \-40 Con err Periodo

pin Los Ntegns Goren en eh A180 _-kon Frid_Con_noas_

Rrecpucco _ \egamos a

omburieas, Shimas_4 ‘a oa drogada\nacia el
a Lan 5 ok. \ de nay a

Ay cevnlle Ridbdarma 1A Deo Parson dance Ne _ -

skado eA personal vy. Kadstu cara ellos
Romie. las Bikey de Dubin, yo ‘carne un

Trix sy es ene AAO. a. -PAdOd REO. Ay, Ser_

NORAD AHN ce. ZLO Rxcepeto 4 Ona Stgunda

IOpadondad el 60-9. Sao Mos Yen Como

FOO

eres en Ridloorna Cosi Yoda el Arernpa eka

Ba \acle Down ese me Aa mata anmedad _
at WE POM. Noor o._Cavsynredl AN 4 cer Ow

en epndnol . Sopveska-

pcgrarsa_llaraado eX

_hRaermke enc OApirkaria On OAS Wegoe _a.qui alos

mets Ue DIS me _ Ayo Au no “colGsons Paco

TEV descnento. del ao. Pa Aue HO _Menes_ PO -

Ge meet.

-phemnas.._che - comme Se Dogs aialead y _

rrenes On Delemec._COandd en Nolumo

Klacon cen \a Comarkadom qu no uAdyrrdlay
Case 4:23-cv-04155-YGR Document 461 Filed 02/11/25 Page2of4

FE\_echalus rratorioel B.0-p eka Spstanda_

Taucho  Aiwera Cyr Ua PIG, 4 NAC YAO.

Voy Beramol__ pate >cciowal _~y_ acl 302 _\nay

Ne
SJsucjan aune a fir _la Sadecpis “de las ohas

cabanas 40 ken Oo rauchos. Ayaunnas Sy en

Sake POAGona caome _Cras,_e\ dia) de

eEnets 752-5 Raeqwacie OO ALqQIe CO Cae OOWGNON

Tewme \a <ahda el Bde eneG-Z207S ; ao
mre serio. Casino. _negor eh —Qarlo muecto Que

MEDAN ES Que one cegeesen A Alicentlle Ala

eorka. Parada _Ael_xaando_Auiec (
\ ay, sa Prsion_es Terible alas Hispanas 116

Nos quieren, aqui_en (Carswell Tx _rnedicamente me han

Hendida_lien esto _Mepr Adon ,. \es qoleco clar las
WA Cas ala Wez Tuonne Gonzales a Vadoscs los aba

pados _de Na dernanda_Coleckiwo.. Ala _naonirer a

tn

Wendy Por Lodo so cpoyo. lnacia. nepatias oo Der
dutsa OZ Por Luckor Sor yess “Gere ces spo

WesCrumunannoes Oo Nuestra _Nacanaldad doy Orguiloaa

t
mente, Nlexicaria, madre de 4 Memnosoy ramos _los

_Muoles eskin._ofuem _esperando me. _C&KOy A meses.

- |Ge sv_a Casa me encantoria Quedarme. en Dallas.

TK Con Ua Rerniso che Arabap Mo der _ceprtada—

Fengo decdros coma Cualquier ohm eiSira. comet

DA eOr Glue me Arey Aqui, De® ead mame detine

COMO PersMNa  Auvie® ‘St lore alyazar ani _Farcilia _

\

sha. rake en Cada namento de Sus ides de.

ONS yds, \ne. aorndido la leccun x Por Mada de _

Nida. plento Tata. Pasion esis BS rests
peparida devs Vyos \naardo No rag Adlaroao due.

_MWperces Vwido ellos 4 Go ms Rades. edtan senfermog

pied Sal y Cuidados_apapadrarss , Aurea Libertad

LN Olvidar -bodo este rmal_Proceso de mi Vida, Quier

_ hrdloar. en _\ O Aue me qwata Pinto Recidencial y

Comercial ty la ig lecia commas type. Por que sialguen

Lad ame. ‘na cloandonado._es.. Dios.el todo .paderoso _.

TEL mea Coidado y Probe aida, Cstoy esperndo este

HQ de ebm Par Ver Ave vaa. sauteder con la
oe. Case 4:23-cv- 5-YGR_ Document 461. __Filed.02/11/25 Page 3.of 4

_ ——.dercanda\ Bop debena Seqwre danda \os

_Ranvtes aralis Na dye este 2 de “enero dodo -e\

— ashemna. Cambs Lengn ESA pero_ng me Yegaleron
Ago Jrawavkes_teengo — AI. POGOe por Cada Wamoda_

Age \nago_por las \iideos y ‘par \os_ prensayes el

Bop En \yope de gastor oniles de _dolaces en

Nos. Picgrannas, de “Ed en espinal, N&D KP 1 Map
_Esos Programas. ND amen _ Para Mada, XO. Ao _cornen

Como debe ser_es Falso_ysnene_ reglas _ Cauy, owas. .

_ Pray nae Senha accsada + akacada ‘ deonmida .

“ _Pexceo one thre e0r AAA _calGco Pac nwa
2 escent px Sec yengeaate 4 tase Pero ital, mo

able Wg les _rar_Oremer VY VOUO dua cs Espanil

Ame _deaado._de ustedes __dandale de nuevo Vas_gracds

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Sf (_ Aado.__so_ acojo..yagur eax. _Pendreake cde Sus
Respustas pom odas.las_que _seopmaas_ Pprtsas

de Dolin Ga en diCerenkesOrrdionesde_eskados Ldes

Ersieco_Sustkua Mnreresca 1 Casa ras nyos

— eee sikan. Noheas Peg _JOnakan cle
E\_@o poksta enende de oni, el_esta sufve

a

_ Sycho Por AA _OwseaGa, 4 YO. DOGO quieras. eskor en.

_ Casa con ellos, “Boendwuiones—\noy 4 diernre _
ms. bax ay oe _
( YL. oe

: ee. Maria AN
28599 65-09
Ws Well Fae
Po Box 23q “REPRE,
Fork Worth Tx >
tt 16124 >

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- DALLAS TX 750

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OF Califarnig i320! Clay
Street | suite 4005
Dakland , CA. #94 6/9

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